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                                                 #:178297

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           16                      UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
           17
                   MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
           18      a Delaware corporation; and
                   CERCACOR LABORATORIES, INC.,                  APPLE INC.’S SECOND
           19      a Delaware corporation,                       IDENTIFICATION OF SPECIAL
                                                                 MASTER CANDIDATES AND
           20                         Plaintiffs,                OBJECTIONS TO PLAINTIFFS’
                                                                 PROPOSED CANDIDATES
           21            v.
           22      APPLE INC.,                                   Judge:          Judge James V. Selna
                   a California corporation,                     Trial:          11/5/24
           23
                                      Defendant.
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                   APPLE’S SECOND IDENTIFICATION OF SPECIAL MASTER CANDIDATES AND OBJECTIONS TO PLAINTIFFS’
Wilmer Cutler
                                                     PROPOSED CANDIDATES
Pickering Hale
and Dorr LLP
                                               CASE NO. 8:20-cv-00048-JVS (JDEX)
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                                                     #:178298

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                       APPLE’S SECOND IDENTIFICATION OF SPECIAL MASTER CANDIDATES AND OBJECTIONS TO PLAINTIFFS’
Wilmer Cutler                                            PROPOSED CANDIDATES
Pickering Hale
and Dorr LLP                                       CASE NO. 8:20-cv-00048-JVS (JDEX)
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                                                     #:178299

                 1            Pursuant to the Court’s instruction during the July 22, 2024 Markman hearing,
                 2     Apple identifies the following additional candidates for special master: Karl Bayer, Esq.
                 3     and Peter S. Vogel, Esq.
                 4            Apple’s proposed candidates have extensive experience serving as independent,
                 5     court-appointed special masters in cases involving complex issues of technology. See
                 6     Garcia Decl. ¶4 (Ex. D); id. ¶5 (Ex. E).
                 7            Apple objects to Plaintiffs’ proposed candidates, Peter J. McAndrews and
                 8     Michael Hawes, because they appear to lack prior experience as special masters or court
                 9     neutrals. See Garcia Decl. ¶6 (Ex. F); id. ¶7 (Ex. G).
            10                In addition, Mr. McAndrews is a shareholder at McAndrews, Held & Malloy, Ltd.
            11         and is counsel of record for plaintiff TQ Delta in the pending matter, TQ Delta, LLC v.
            12         Verizon Services Corp., No. 15-cv-616-GBW (D. Del.). See Garcia Decl. ¶7 (Ex. H).
            13         Masimo’s expert Dr. Vijay Madisetti also serves as TQ Delta’s technical expert. See
            14         id. ¶7 (Ex. H); id. ¶8 (Ex. I).
            15                Accordingly, Apple respectfully requests that the Court appoint either Mr. Bayer
            16         or Mr. Vogel as special master in this case.
            17                The parties have not yet contacted any of the proposed candidates.
            18                                                    Respectfully submitted,
            19
                        Dated: July 29, 2024                      By: /s/ Mark D. Selwyn
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and Dorr LLP           APPLE’S SECOND IDENTIFICATION OF SPECIAL MASTER CANDIDATES AND OBJECTIONS TO PLAINTIFFS’
                                                         PROPOSED CANDIDATES
                                                                1             CASE NO. 8:20-cv-00048-JVS (JDEX)
